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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                   Chapter 11


    Lordstown Motors Corp., et al.,1                        Case No. 23-10831 (MFW)

                                                            (Jointly Administered)
                                          Debtors.
                                                            Hearing Date: March 14, 2024 at 3:00 P.M. (ET)
                                                            Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)

 FIRST INTERIM APPLICATION OF WOMBLE BOND DICKINSON (US) LLP FOR
   COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
EXPENSES AS CO-COUNSEL FOR THE DEBTORS AND DEBTORS-IN-POSSESSION
   FOR THE PERIOD FROM OCTOBER 6, 2023 THROUGH DECEMBER 31, 2023

    Name of Applicant:                                         Womble Bond Dickinson (US) LLP

    Authorized to Provide Professional Services to:            Debtors and Debtors-in-Possession

    Date of Retention:                                         Effective October 6, 2023

    Interim Period for which Compensation and
    Reimbursement is Sought:                                   October 6, 2023 to December 31, 2023


    Interim Amount of Compensation sought as
    Actual, Reasonable and Necessary:                          $238,424.50

    Interim Amount of Expense Reimbursement
    sought as actual, reasonable and necessary:                $76.30


This is a(n):        Monthly          X       Interim               Final Fee Application




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                          Summary of Monthly Fee Applications for Interim Period

   Date Filed            Period        Requested         Requested       Approved          Approved         Holdback Fees
                        Covered          Fees            Expenses        Fees (80%)        Expenses         Requested Fees
                                                                                            (100%)             (20%)

November 22, 2023       10/6/23 -
 [Docket No. 735]       10/31/23      $114,369.00           $0.00         $91,495.20          $0.00            $22,873.80



 February 5, 2024       11/1/23 -
 [Docket No. 949]       11/30/23       $80,000.00          $51.30        $64,000.002         $51.30            $16,000.00



 February 7, 2024       12/1/23-
 [Docket No. 956]       12/31/23       $44,055.50          $25.00         $35,244.403        $25.00            $8,811.10

    TOTALS:                           $ 238,424.50         $76.30        $190,739.60         $76.30            $47,684.90


      Summary of any objections to Monthly Fee Applications: None.




      2
              WBD does not anticipate any objection to its Fee Application. WBD intends on filing a Certificate of No
      Objection once the objection deadline has expired.
      3
              WBD does not anticipate any objection to its Fee Application. WBD intends on filing a Certificate of No
      Objection once the objection deadline has expired.

                                                            2
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                    TIMEKEEPER SUMMARY FOR INTERIM PERIOD
                    OCTOBER 6, 2023 THROUGH DECEMBER 31, 2023



                         POSITION/DATE
   NAME OF                                          HOURLY      TOTAL            TOTAL
                          ADMITTED TO
 PROFESSIONAL                                       BILLING     HOURS        COMPENSATION
                         BAR/NUMBER OF
    PERSON                                           RATE       BILLED          SOUGHT
                             YEARS



                         Partner; Admitted to
Donald J. Detweiler      Delaware Bar 1992;          $845.00         40.4        $34,138.00
                          Joined WBD 2022


                         Partner; Admitted to
Morgan L. Patterson      Delaware Bar 2009;          $720.00         174.5       $125,640.00
                          Joined WBD 2013


                          Associate; Joined
William D. Curtis                                    $470.00          2.2         $1,034.00
                            WBD 2020


                        Associate; Admitted to
Elazar A. Kosman         Delaware Bar 2023;          $385.00          2.7         $1,039.50
                         Joined WBD 2023


                          Paralegal; Joined
Ashley L. Couch                                      $385.00          1.1             $423.50
                            WBD 2002



                          Paralegal; Joined
Elizabeth C. Thomas                                  $370.00          7.2         $2,664.00
                            WBD 2022



                          Paralegal; Joined
Cynthia S. Giobbe                                    $370.00         202.6       $74,962.00
                            WBD 2022




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    Total Fees                                                              430.7           $239,901.004
    Reduction                                                                                $1,476.50
    TOTAL BILLED                                                                            $238,424.50
    Total Blended Rate                                                                        $557.00




4
         Womble Bond provided a voluntary reduction of fees in the amount of $1,476.50. See Second Monthly Fee
Application [Docket No. 949]

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            SUMMARY OF SERVICES BY TASK CODE FOR INTERIM PERIOD
               OCTOBER 6, 2023 THROUGH DECEMBER 31, 2023

  TASK                 TASK DESCRIPTION                           HOURS          AMOUNT
  CODE

BKAV     Adversary                                                 9.5            $5,090.00
BKAD     Asset Disposition – General                               68.3          $40,488.50
BKBD     Bar Date                                                  3.2            $1,779.00
BKBO     Business Operations/Meetings with Debtor                  2.4            $888.00
BKO      Claims Administration                                     0.6            $507.00
BKCO     Claims Objections                                         36.7          $21,531.50
BKH      Court Hearings/Preparation/Agenda                         66.0          $35,637.50
BKDS     Disclosure Statement                                      28.1          $19,702.00
BKD      Documentations/Plan Negotiation                           15.6          $10,865.00
BKEB     Employee Benefits                                         8.2            $4,314.00
BKE      Executory Contracts/Lease Agreements                      30.3          $16,246.00
BKF      Fee Application/Monthly Billing                           7.4            $3,638.00
BKFO     Fees of Others                                            48.3          $21,781.00
BKG      General Case Administration                               19.0           $8,887.50
BKB      Investigation of Claims                                   2.0            $1,690.00
BKLT     Litigation                                                4.7            $2,763.00
BKM      Other Motion Practice                                     2.4            $1,220.50
BKPO     Plan of Reorganization                                    50.2          $27,219.00
BKRS     Reports and Schedules                                     8.5            $4,067.50
BKRA     Retention of Applicant                                    18.0          $10,857.50
BKRO     Retention of Others                                       1.3            $728.50
         Total                                                    430.7          $239,901.00




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                 SUMMARY OF EXPENSES FOR INTERIM PERIOD
                 OCTOBER 6, 2023 THROUGH DECEMBER 31, 2023


               EXPENSE CATEGORY                      TOTAL EXPENSES

Filing Fee                                                  $25.00
Transcript                                                  $51.30
Total Expenses Requested:                                   $76.30




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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE


       In re                                                   Chapter 11

                                                               Case No. 23-10831 (MFW)
       Lordstown Motors Corp., et al.,1

                                                               (Jointly Administered)
                                             Debtors.
                                                               Hearing Date: March 14, 2024 at 3:00 P.M. (ET)
                                                               Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)



         BUDGET FOR WOMBLE BOND DICKINSON (US) LLP FOR COMPENSATION
         FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES AS CO-
           COUNSEL FOR THE DEBTOR AND DEBTOR-IN-POSSESSION FOR THE
                PERIOD OCTOBER 6, 2023 THROUGH DECEMBER 31, 2023

          WBD was retained in these Chapter 11 Cases on October 6, 2023, several months after the
   Debtors’ chapter 11 petitions were filed on June 27, 2023. Accordingly, WBD estimated its fees
   from retention through the conclusion of the cases to be approximately $100,000 per month.

          The above estimate was subject to substantial revision, including if the chapter 11 cases or
   other matters prove to be contentious, are shorter or longer than expected, or there are other
   unforeseen events.

           The following chart breaks down by project category WBD’s fees incurred from retention
   through December 31, 2023. WBD’s fees during the first interim period were substantially less
   than estimated.

                TASK DESCRIPTION                                   BUDGETED                   BUDGETED FEES
                                                                    HOURS

Adversary                                                                9.5                        $5,090.00
Asset Disposition – General                                              68.3                       $40,488.50
Bar Date                                                                 3.2                        $1,779.00
Business Operations/Meetings with Debtor                                 2.4                          $888.00
Claims Administration                                                    0.6                          $507.00

   1
            The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
   Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
   is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Claims Objections                                     36.7               $21,531.50
Court Hearings/Preparation/Agenda                     66.0               $35,637.50
Disclosure Statement                                  28.1               $19,702.00
Documentations/Plan Negotiation                       15.6               $10,865.00
Employee Benefits                                     8.2                 $4,314.00
Executory Contracts/Lease Agreements                  30.3               $16,246.00
Fee Application/Monthly Billing                       7.4                 $3,638.00
Fees of Others                                        48.3               $21,781.00
General Case Administration                           19.0                $8,887.50
Investigation of Claims                               2.0                 $1,690.00
Litigation                                            4.7                 $2,763.00
Other Motion Practice                                 2.4                 $ 1,220.50
Plan of Reorganization                                50.2               $27,219.00
Reports and Schedules                                 8.5                 $4,067.50
Retention of Applicant                                18.0               $10,857.50
Retention of Others                                   1.3                  $728.50
Total                                                430.7               $239,901.00




                                             2
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                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re                                                   Chapter 11

                                                            Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1

                                                            (Jointly Administered)
                                          Debtors.
                                                            Hearing Date: March 14, 2024 at 3:00 P.M. (ET)
                                                            Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)



              STAFFING PLAN FOR WOMBLE BOND DICKINSON (US) LLP
             CO-COUNSEL FOR THE DEBTOR AND DEBTOR-IN-POSSESSION
            FOR THE PERIOD OCTOBER 6, 2023 THROUGH DECEMBER 31, 2023


                                              NUMBER OF
                                             TIMEKEEPERS
            CATEGORY OF                   EXPECTED TO WORK
            TIMEKEEPER                      ON THE MATTER                            Average Hourly Rate
                                          DURING THE BUDGET
                                                PERIOD
               Partner                             2                                          $782.50
              Associates                           2                                          $385.00
              Paralegals                           2                                          $370.00




1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re                                                   Chapter 11

                                                            Case No. 23-10831 (MFW)
    Lordstown Motors Corp., et al.,1

                                                            (Jointly Administered)
                                          Debtors.
                                                            Hearing Date: March 14, 2024 at 3:00 P.M. (ET)
                                                            Objection Deadline: March 7, 2024 at 4:00 p.m. (ET)

                FIRST INTERIM APPLICATION OF WOMBLE BOND
        DICKINSON (US) LLP FOR COMPENSATION FOR SERVICES RENDERED
          AND REIMBURSEMENT OF EXPENSES AS CO-COUNSEL FOR THE
                 DEBTOR AND DEBTOR-IN-POSSESSION FOR THE
              PERIOD OCTOBER 6, 2023 THROUGH DECEMBER 31, 2023

                  Womble Bond Dickinson (US) LLP (“WBD”), as co-counsel to the Debtor and

Debtor-in-Possession (the “Debtor”) appointed in these chapter 11 bankruptcy cases (the “Chapter

11 Cases”), submits its first interim application (the “Application”), pursuant to sections 330(a),

331, and 1103 of Title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (as amended, the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), Rule 2016-2 (“Local Rule 2016-2”) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

the United States Trustee Guidelines for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed Under 11 U.S.C. § 330 issued by the Executive Office for

United States Trustees (the “Guidelines”), and this Court’s Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses for Chapter 11 Professionals and



1
         The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address
is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Committee Members, entered July 25, 2023 [Docket No. 218] (the “Interim Compensation Order”),

for the allowance of interim compensation for professional services performed by WBD for the

period October 6, 2023 through and including December 31, 2023 (the “Application Period”) in

the amount of $238,424.50 together with reimbursement for actual and necessary expenses in the

amount of $76.30 incurred during the Application Period. In support of the Application, WBD

respectfully represents as follows:

                                 JURISDICTION AND VENUE

               1.       This Court has jurisdiction over this Application pursuant to 28

U.S.C. §§ 157 and 1334.

               2.       Venue of these cases and this Application is proper in this district pursuant

to 28 U.S.C. §§ 1408 and 1409.

               3.       The statutory predicates for the relief sought herein are Bankruptcy Code

sections 330 and 331.

                                         BACKGROUND

               4.       On June 27, 2023 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code in the United States Bankruptcy Court for the

District of Delaware (the “Court”), commencing these chapter 11 cases. Since the Petition Date, the

Debtors have remained in possession of their assets and have continued to operate and manage their

businesses as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

No trustee or examiner has been appointed in these Chapter 11 Cases.

               5.       On July 11, 2023, the Office of the United States Trustee appointed the

official committee of unsecured creditors (the “Creditors Committee”) pursuant to section

1102(a)(1) of the Bankruptcy Code. On September 7, 2023, the U.S. Trustee appointed the official

committee of equity security holders (the “Equity Committee” and collectively with the Creditors’

                                                  2
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Committee, the “Committees”) for these Chapter 11 Cases. No trustee or examiner has been

appointed in these Chapter 11 Cases.

               6.     Information regarding the Debtors’ history, business operations, capital

structure, indebtedness, and the events leading up to the commencement of these Chapter 11 Cases

can be found in the Declaration of Adam Kroll in Support of Debtors’ Chapter 11 Petitions and First

Day Motions [Docket No. 15].

               7.     On October 31, 2023, WBD applied to the Court for an order authorizing

the Debtors to retain WBD as its counsel, nunc pro tunc to October 6, 2023 [Docket No. 647] (the

“Retention Application”).

               8.     On November 20, 2023, the Court entered an Order approving the retention

of WBD as counsel to the Debtors, nunc pro tunc to October 6, 2023 [Docket No. 717] (the

“Retention Order”).

               9.     On November 22, 2023, WBD filed its first monthly fee application for the

period from October 6, 2023 through October 31, 2023 for requested fees of $114,369.00 [Docket

No. 735]. On December 13, 2023, WBD filed a Certificate of No Objection regarding its first

monthly fee application [Docket No. 813].

               10.    On February 5, 2024, WBD filed its second monthly fee application for the

period of November 1, 2023 through November 30, 2023 for requested fees of $80,000.00 [Docket

No. 949]. WBD does not anticipate any objection to its second monthly fee application. WBD

intends on filing a Certificate of No Objection once the objection deadline has expired.

               11.    On February 7, 2024, WBD filed its third monthly fee application for the

period of December 1, 2023 through December 31, 2023 for requested fees of $44,055.50 [Docket




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  No. 956]. WBD does not anticipate any objection to its third monthly fee application. WBD

  intends on filing a Certificate of No Objection once the objection deadline has expired.

                  12.     In addition, WBD states as follows in response to the questions set forth in

  paragraph C.5 of the U.S. Trustee Guidelines:

                          RESPONSES TO FEE GUIDELINES QUESTIONNAIRE

Question                                        Response                   Explanation

Did you agree to any variations from, or           No                           N/A
alternatives to, your standard or customary
billing rates, fees or terms for services
pertaining to this engagement that were
provided during the application period? If
so, please explain.

If the fees sought in this fee application as     No.         The fees sought in the Application for the
compared to the fees budgeted for this time                  Interim Compensation Period are less than
period covered by this fee application are                      the fees budgeted for the time period
higher by 10% or more, did you discuss the                          covered by such application.
reasons for the variation with the client?

Have any of the professionals included in          No                           N/A
this fee application varied their hourly rate
based on the geographic location of the
bankruptcy case?

Does the fee application include time or          Yes         The Application includes time and fees
fees related to reviewing or revising time                      related to reviewing or revising time
records or preparing, reviewing, or revising                records or preparing, reviewing, or revising
invoices?                                                    invoices for consistency with Local Rules
                                                               in connection with the preparation of
                                                              Monthly Fee Applications relating to the
                                                                    Interim Compensation Period
Does this fee application include time or          No                            N/A
fees for reviewing time records to redact
any privileged or other confidential
information?




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Question                                        Response                  Explanation

If the fee application includes any rate          N/A       This fee application does not include any
increases since retention:                                                rate increases.
   i. Did your client review and approve
those rate increases in advance?
   ii. Did your client agree when retaining
the law firm to accept all future rate
increases? If not, did you inform your client
that they need not agree to modified rates or
terms in order to have you continue the
representation, consistent with ABA formal
Ethics Opinion 11-458?



                              SUMMARY OF SERVICES RENDERED

                  13.     A detailed statement of fees incurred by WBD during the Application

  Period were attached as Exhibit A to each of the previously filed monthly fee applications. This

  statement contains daily time logs describing the time spent by each attorney and

  paraprofessional for the Compensation Period.          To the best of WBD’s knowledge, this

  Application complies with Sections 330 and 331 of the Bankruptcy Code, the applicable

  Bankruptcy Rules, Local Rule 2016-2, applicable Third Circuit law and the Administrative

  Order.

                                     SUMMARY OF EXPENSES

                  14.     A detailed statement of expenses incurred on behalf of the Debtors during

  the Application Period were attached as Exhibit B to each of the of the previously filed monthly

  fee applications. WBD’s itemized records comply with the requirements set forth in Local Rule

  2016-2(e), including an itemization of the expenses by category, the date the expense was incurred,

  and the individual incurring the expense, where available.




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                 15.      WBD has not charged the Debtors for internal photocopying expenses.

WBD also does not charge for outgoing facsimile transmissions.2 The rates charged by WBD for

computerized research vary according to the type of research conducted and the specific files

researched, but, in any event, such charges are billed at cost. As per the Guidelines, WBD has

not requested reimbursement of expenses related to overhead charges, such as secretarial

services and proofreading.

                                     VALUATION OF SERVICES

                 16.      WBD’s attorneys and paraprofessionals expended a total of 430.7 hours for

the Application Period. The professional time expended by the firm, the value of said time in fees,

and the value of the actual expenses incurred by the firm were actual, reasonable, and necessary.

In all respects, the firm’s fees and expenses meet the standards for allowance under Bankruptcy

Code section 330, as well as the standards that govern the review and allowance of bankruptcy

professionals’ fees.

                 17.      In accordance with the factors enumerated in section 330 of the Bankruptcy

Code, the amount requested is fair and reasonable given (i) the complexity of the case, (ii) the time

expended, (iii) the nature and extent of the services rendered, (iv) the value of such services, and

(v) the costs of comparable services other than in a case under chapter 11 of the Bankruptcy Code.


                                     RESERVATION OF RIGHTS

                 18.      To the extent time or disbursement charges for services rendered or

disbursements incurred relate to the Application Period but were not processed prior to the

preparation of this Application, or WBD has for any other reason not sought compensation or



2
  To the extent WBD uses an outside vendor for volume faxing or other vendor services, WBD bills those charges at
cost. WBD seeks competitive market rates for such outside vendor services.

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reimbursement of expenses herein with respect to any services rendered or expenses incurred

during the Application Period, WBD reserves the right to request additional compensation for such

services and reimbursement of such expenses in a future application.

                        CERTIFICATE OF COMPLIANCE AND WAIVER

               19.    The undersigned representative of WBD certifies that the undersigned has

reviewed the requirements of Local Rule 2016-2, and that the Application substantially complies

with such Local Rule. To the extent that the Application does not comply in all respects with the

requirements of Local Rule 2016-2, the undersigned believes that such deviations are not material.

Accordingly, WBD respectfully requests that any such requirements be waived.




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                                        CONCLUSION

       WHEREFORE, WBD respectfully requests that it be granted for the Application Period,

(i) allowance of fees in the amount of $238,424.50 as compensation for necessary professional

services rendered and $76.30 as reimbursement of actual necessary costs and expenses, for a total

of $238,500.80 and that such sums be authorized for payment and for such other relief as this Court

may deem just and proper.



Dated: February 14, 2024
Wilmington, Delaware                         /s/ Morgan L. Patterson
                                             WOMBLE BOND DICKINSON (US) LLP
                                             Donald J. Detweiler (DE Bar No. 3087)
                                             Morgan L. Patterson (DE Bar No. 5388)
                                             1313 North Market Street, Suite 1200
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 252-4320
                                             Facsimile: (302) 252-4330
                                             don.detweiler@wbd-us.com
                                             morgan.patterson@wbd-us.com

                                             Counsel to the Debtors and Debtors in Possession




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